                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:04CR138-2


UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )               ORDER
                                              )
Charles Louis Anello                          )




        The matter is before the court upon the court’s own motion for a continuance of this
matter from the May 18, 2005 criminal sentencing term in the Charlotte Division.

       The court finds for the reasons stated in a letter from defendant's counsel that a
continuance of sentencing shall be granted.

        IT IS THEREFORE ORDERED that defendant's motion for continuance be, and it hereby
is, granted to the next available sentencing term as to the above named defendant in this
case in the Charlotte Division.

       The Clerk is directed to certify copies of this order to defendant, counsel for defendant, to
the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.




     Case 3:04-cr-00138-GCM-CH             Document 43        Filed 05/19/05      Page 1 of 5
Case 3:04-cr-00138-GCM-CH   Document 43   Filed 05/19/05   Page 2 of 5
Case 3:04-cr-00138-GCM-CH   Document 43   Filed 05/19/05   Page 3 of 5
Case 3:04-cr-00138-GCM-CH   Document 43   Filed 05/19/05   Page 4 of 5
                        Signed: May 19, 2005




Case 3:04-cr-00138-GCM-CH   Document 43    Filed 05/19/05   Page 5 of 5
